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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                       MEMORANDUM

Honorable Lawrence J. O'Neill                     RE: Curtis White
Chief United States District Judge                    Docket Number: 0972 1:13CR00356-2
Fresno, California                                    REQUEST FOR STATUS HEARING

Your Honor:

On March 27, 2019, a Prob 12C Petition for Summons was filed detailing the offender’s failure to
participate in drug testing, failure to participate in cognitive behavioral treatment, unlawful use of a
controlled substance, and his unauthorized/excessive use of alcohol. On April 16, 2019, Mr. White began
a six-month inpatient treatment program through the Salvation Army Adult Rehabilitation Center (ARC).
On June 3, 2019, sentencing was continued to October 21, 2019, in order to determine his performance in
rehabilitative services.


Since the last Court hearing, Mr. White was transferred to the Wellspace Health Residential facility due to
complications with physical injuries and an inability to continue work therapy at the ARC program. On
July 20, 2019, he was provided a day-pass due to a death in his family. On this same date, he returned to
the program and provided a breathalyzer test which returned positive for .008% BAC. Despite his relapse,
the treatment provider is willing to continue services and has developed a plan which includes a blackout
period until his discharge date.


This continued non-compliance represents uncharged conduct. However, the undersigned is requesting a
status hearing before Your Honor, on August 12, 2019, at 8:30 AM to address this recent behavior. Should
the Court agree with our request, the undersigned will contact Mr. White and all parties to advise of the
new Court date.


                                        Respectfully submitted,

                                         /s/ Molly R. McSorley

                                         Molly R. McSorley
                                   United States Probation Officer


Dated:      August 6, 2019
            Modesto, California




                                                                                                REV. 03/2017
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RE:      Curtis White
         Docket Number: 0972 1:13CR00356-2
         REQUEST FOR STATUS HEARING




 REVIEWED BY:
                              Laura Weigel
                              Supervising United States Probation Officer




THE COURT ORDERS:

☒ Matter placed on calendar before the Honorable Lawrence J. O’Neill for a Status Hearing on August 12,
2019, at 8:30 AM.



IT IS SO ORDERED.

      Dated:   August 6, 2019                           /s/ Lawrence J. O’Neill _____
                                               UNITED STATES CHIEF DISTRICT JUDGE




cc:      Katherine Schuh
         Assistant United States Attorney

         Darryl Young
         Defense Counsel




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